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                                                      February 6, 2020

By ECF

The Honorable Loretta A. Preska
United States District Judge
Southern District of New York
500 Pearl Street, Room 2220
New York, NY 10007-1312

               Re:     Giuffre v. Maxwell, 15 Civ. 07433 (LAP)

Dear Judge Preska:

        We write on behalf of anon-party, John Doe, in response to the parties’ submissions,
dated January 30, 2020, regarding the protocol that we previously proposed to the Court. See
Defendant’s Submission and Proposed Protocol, dated Jan. 30, 2020 (DE 1025) (“Defendant’s
Submission”); Plaintiff’s Submission and Proposed Protocol, dated Jan. 30, 2020 (DE 1026)
(“Plaintiff’s Submission”); see also John Doe’s Initial Proposed Protocol, dated Sept. 3, 2019
(DE 980), at 8-10; John Doe’s Revised Proposed Protocol, dated Jan. 15, 2020 (DE 1019) (“John
Doe’s Submission”), at 2-4. After submitting their protocols, each party has also submitted
briefs regarding the other’s submission. See Defendant’s Brief, dated Feb. 4, 2020 (DE 1028)
(“Def. Br.”); Plaintiff’s Brief, dated Feb. 5, 2020 (DE 1029). We write to briefly address several
modifications to, and omissions from, the parties’ respective proposed protocols.

       1. The Court Must Evaluate Whether Filings Associated With Adjudicated
          Motions are Judicial

        Both parties agree that the Court has already ruled that unadjudicated motions are non-
judicial; but they disagree as to whether the Court ought to review the adjudicated motions to
determine whether associated filings are judicial. See Plaintiff’s Submission at 2; Def. Br. at 4.
We agree with the Defendant that the Court must review such filings associated with adjudicated
motions and make the determination as to whether each is, in the first instance, a judicial record.

        In order to be deemed “judicial,” it is not enough for a filing to simply have been filed in
connection with an adjudicated motion; it must also: (i) be “relevant to the performance of the
judicial function,” Brown v. Maxwell, 929 F.3d 41, 49 (2d Cir. 2019); (ii) be “useful in the
judicial process,” id.; (iii) contain “admissible evidence and non-frivolous arguments,” Lugosch
v. Pyramid Co. of Onondaga, 435 F.3d 110, 122 (2d Cir. 2006); and (iv) not be “redundant,
immaterial, impertinent, or scandalous,” Brown, 929 F.3d at 51 (citation omitted); see also id. at
51 n.42.
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      Indeed, in a recent opinion, Judge Kaplan, in reviewing the Court of Appeals’ decision in
Brown, observed:

                [I]n explaining that documents submitted to a court for its
                consideration in a summary judgment motion constitute judicial
                documents as a matter of law, the Circuit stated that this conclusion
                relies upon the general principle that parties may be assumed to have
                supported their papers with admissible evidence and non-frivolous
                arguments. Insofar as a district court has, through striking a filing,
                specifically found that assumption inapplicable, the categorical rule
                may not apply.

United States v. Gatto, No. 17-CR-686 (LAK), 2019 WL 4194569, at *3 (S.D.N.Y. Sept. 3,
2019) (internal quotation marks and emendations omitted). 1 Accordingly, even with respect to
motions fully adjudicated by Judge Sweet, if this Court determines, inter alia, that any associated
“documents filed by a party are not relevant to the performance of a judicial function, no
presumption of public access attaches.” Brown, 929 F.3d at 49 (emphasis in original).

       As such, the Court must review filings associated with adjudicated motions to determine
whether those filings are indeed judicial (and then must evaluate the weight of any presumption
of public access that attaches 2).



       1
         Moreover, Judge Kaplan was addressing documents submitted in connection with an
adjudicated summary judgment motion. See Gatto, 2019 WL 4194569, at *3. The fact of, and
weight of, the presumption of public access is, of course, much higher with respect to documents
submitted in connection with a dispositive motion. See infra n.2 and accompanying text.
       2
         After a court determines that a document is judicial, and therefore carries a presumption
of public access, the court must proceed to weigh the strength of that presumption, which ranges
from an extremely strong presumption of access to an effectively nominal one:

                Once an item is deemed relevant to the exercise of judicial power
                [that is, a judicial document], the weight to be given the presumption
                of access must be governed by the role of the material at issue in the
                exercise of Article III judicial power and the resultant value of such
                information to those monitoring the federal courts. Thus, while
                evidence introduced at trial or in connection with summary
                judgment enjoys a strong presumption of public access, documents
                that play only a negligible role in the performance of Article III
                duties are accorded only a low presumption that amounts to little
                more than a prediction of public access absent a countervailing
                reason.
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       2. The Protocol Should Broadly Provide Non-Parties Who Are Identified in the
          Sealed Documents Notification and an Opportunity to Object

        The Plaintiff seemingly asserts that certain non-parties whose involvement in some
capacity has already been made public should receive no notice of any sort, and thus be
preemptively denied the opportunity to object and advance their privacy interests. See Plaintiff’s
Submission (DE 1026), at 2-3. We disagree. The fact that certain information about non-parties
identified in the sealed materials may be already public does not mean that the Court is relieved
of the obligation to weigh the privacy interests of such individuals implicated by further, or
different, disclosures. Indeed, as Judge Kaplan recently observed: “That some information
relating to the documents in question already has been discussed on the public record or reported
in the media does not mean that the third-parties concerned have lost any remaining privacy
interests in their contents.” Gatto, 2019 WL 4194569, at *8 (citing Matter of New York Times
Co., 828 F.2d 110, 116 (2d Cir. 1987)).

        Nevertheless, our request here is straightforward: the parties should adhere strictly to the
definition of non-parties to be noticed that is set forth in Paragraph 1 of each party’s – and John
Doe’s – proposed protocol.

       3. The Court Should Fully Inform Non-Parties Regarding Their Rights, Including
          Their Appellate Rights

       Each party’s proposal omits a provision from John Doe’s proposed protocol that
provides: “An order from this Court unsealing the Sealed Materials, in whole or part, as to a
Non-Party should be deemed to have affected the Non-Party’s rights and interests for purposes of
appeal.” Compare Plaintiff’s Submission (DE 1026), ¶ 3(f), and Defendant’s Submission (DE
1025), ¶ 3(f), with John Doe’s Submission (DE 1019), at 4.

        An objecting non-party possesses a right of appeal as a matter of course. Such a non-
party is entering a limited appearance before this Court as part of a process intentionally and
carefully structured to afford them the opportunity to protect their privacy and reputations, and
plainly these important rights will be directly affected by this Court’s ruling on whether to
maintain under seal documents that identify such a non-party.

        The parties do not appear to contest this point. Yet the omission of notice of this legal
right runs counter to the structure of the proposed notices and protocol, each of which is styled,
in many respects, like the form of notice typically utilized in, for example, a class action or for a
creditor-claim process. Such notices are generally intended to inform recipients of the process
and of their rights. Indeed, the parties modified John Doe’s proposed protocol to account for the
participation of non-parties who may object without the benefit of legal counsel and proceed pro
se (and we have no objections to these modifications). For example, requirements that items be

Brown, 929 F.3d at 49-50 (internal quotation marks omitted). Because none of the documents here
relate to “evidence introduced at trial or in connection with summary judgment,” the weight of the
documents presently at issue here is categorically weaker. Id. at 49.
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filed “under seal” or be “redacted” were removed in favor of a more simplified submission
process to accommodate anticipated pro se filings. 3
        Absent this language regarding appellate rights, the protocol fails to adequately inform
non-parties of an important facet of the process, and thereby (unnecessarily) creates a risk that
non-parties make decisions about whether to participate in this process without a full
appreciation of the fact that they would also have further recourse to protect their legal rights.
This is, we submit, counter to the purpose of the notice in the first instance.
       Accordingly, we request that the Court include the following language in Paragraph 3(f):
“An order from this Court unsealing the Sealed Materials, in whole or part, as to a Non-Party
should be deemed to have affected the Non-Party’s rights and interests for purposes of appeal.”
John Doe’s Submission (DE 1019), at 4.
       4. The Court Should Permit Standard Replies for Non-Parties

         The Plaintiff has removed from her proposed protocol the right of non-parties to reply to
any objection interposed by the parties, and rather puts the onus on the Court to make
individualized determinations regarding when non-parties should be permitted to submit a reply.
See Plaintiff’s Submission (DE 1026), ¶ 2(d). We disagree with Plaintiff’s approach. Non-
parties should have the standard right to submit a reply to any opposition interposed by the
parties.

        This approach is both fair and substantively proper. The parties to the case necessarily
possess knowledge of the extensive case history of this matter and the universe of presently
sealed materials. An objecting non-party should not (and necessarily cannot) be expected to
anticipate every response and argument from a party opponent – particularly in light of the
length and complexity of this case, and non-parties’ limited access to the sealed materials. In
short, the parties begin this process at a great advantage in terms of knowledge and preparation,
and fairness dictates that non-parties be provided the opportunity to respond to the parties’
positions. Indeed, a proponent for unsealing the records should not have the proverbial last
word on an issue where it is the objecting non-party who is charged with demonstrating that the
countervailing interests outweigh whatever level of presumption of access has been assigned to a
particular document, or excerpt thereof.




       3
         It is common, if not the norm, for participants in such processes to be informed of their
procedural rights – just as federal magistrate orders typically advise litigants of their objection
rights notwithstanding the publication of such rights in Civil Rule 72(a), or administrative
agencies provide specific notice of an aggrieved person’s right to file an appeal. See 29 C.F.R.
§ 1614.50(e)(2)(ii) (EEOC notice); 38 C.F.R § 19.101 (Department of Veterans Affairs notice);
45 C.F.R. § 155.15(b) (Affordable Care Act regulation).
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       Accordingly, we request that the Court utilize the language set forth in the Defendant’s
proposed protocol. See Defendant’s Submission (DE 1025), ¶ 2(d) (“Within 7 days of service of
any response, the objecting Non-Party may submit a reply.”).

       5. The Protocol Should Provide for Briefing Regarding the Weight of the
          Presumption of Public Access

        Both parties and John Doe agree that part of the protocol should be to identify and assess
the weight of the public presumption of access that should apply to a given filing or part of a
filing. See Defendant’s Submission (DE 1025), at 4; Plaintiff’s Submission (1026), at 4; see also
John Doe’s Submission (DE 1019), at 2 (“The Court will conduct an individualized review of
these Sealed Materials to evaluate the weight of any presumption of public access that applies,
and to identify and weigh countervailing factors that function to limit the weight of that
presumption of public access.”); see also supra n.2 and accompanying text. Accordingly, with
respect to any document the Court concludes is, in fact, judicial, we submit that the protocol
should permit the parties and non-parties to address the weight of the presumption of public
access that applies to any such document.


                                                    Respectfully Submitted,
                                                    KRIEGER KIM & LEWIN LLP


                                               By: _________________________
                                                   Nicholas J. Lewin
                                                   Paul M. Krieger


cc (by ECF): All counsel of record
